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                        UNITED STATES DISTRICT COURT
 9
                      CENTRAL DISTRICT OF CALIFORNIA
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11    DAIRY EMPLOYEES LOCAL 17, et               Case No. 5:21−cv−00488−JGB−KKx
      al.
12            Plaintiff,                         ORDER GRANTING JOINT
                                                 STIPULATION TO DISMISS
13                                               ACTION WITH PREJUDICE
14                                               Complaint Filed: March 19, 2021
            V.
                                                 District Judge:  Hon. Jesus G.
15                                               Bernal
      CHRISTIAN LABOR
16
      ASSOCIATIONOF THE UNITED
17    STATES CLA−USA,
18             Defendants.
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             ORDER GRANTING JOINT STIPULATION TO DISMISS ACTION WITH PREJUDICE
     Case 5:21-cv-00488-JGB-KK Document 8 Filed 10/19/21 Page 2 of 2 Page ID #:94




 1
 2                                          ORDER
 3         Based upon the Parties’ Joint Stipulation of Dismissal of Action With
 4   Prejudice, this Court finds good cause for such an order and issues an order as
 5   follows:
 6         IT IS HEREBY ORDERED.
 7
        1. This entire matter is hereby dismissed with prejudice; and
 8
        2. Each party will bear their own attorney’s fees and costs.
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10
     IT IS SO ORDERED.
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12
13   DATE: October 19, 2021
                                             Honorable Jesus G. Bernal
14                                           U.S. District Judge
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                ORDER GRANTING JOINT STIPULATION TO DISMISS ACTION WITH PREJUDICE
